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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                   NORTHERN DIVISION

DEURSLA LASHAY BARRON                                        PLAINTIFF

v.                      No: 3:20-cv-255-DPM-PSH

CHELSEA SPENCE, Officer,
Craighead County Detention Center;
ASHLEY HARRINGTON, Officer,
Craighead County Detention Center;
and JON BALLARD, Sergeant,
Craighead County Detention Center                        DEFENDANTS

                                ORDER
     1. The Court withdraws the reference.
     2. Barron hasn’t filed an amended complaint; and the time to do
so has passed. Doc 5. Her complaint will therefore be dismissed
without prejudice. LOCAL RULE 5.5(c)(2). An in forma pauperis appeal
from this Order and accompanying Judgment would not be taken in
good faith. 28 U.S.C. § 1915(a)(3).
     So Ordered.
                                       ________________________
                                       D.P. Marshall Jr.
                                       United States District Judge

                                       27 October 2020
